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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                          ELECTRONIC ALLY FILED
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 UNIVERSITAS EDUCATION, LLC,
                                                                       DATE   ~~I~ED:~~~(fD?~IliL
                            Plaintiff,                         No. 11-CV-01590 (LTS)(HBP)

                   -against-
                                                               SATISFACTION OF JUDGMENT
 NOVA GROUP, INC.,                                             ONLY AS TO JUDGMENT DEBTOR
                                                               GRIST MILL TRUST WELFARE
                            Defendants.                        BENEFIT PLAN

----------------------------------------------------------)(

        WHEREAS, a Judgment was entered in the above action on August 12, 2014 in favor of
Judgment Creditor UNIVERSIT AS EDUCATION LLC ("Universitas") and against Judgment
Debtor Grist Mill Trust Welfare Benefit Plan ("GMT"), in the amount of $4,487 ,007 .81 (the
"GMT Judgment"), and said GMT Judgment having been fully paid; and it is certified that there
are no outstanding executions with any Sheriff or Marshall as to said GMT Judgment; and

         WHEREAS, to the extent Universitas issued restraining notices to third party garnishees
directed at the assets of Judgment Debtor GMT, such restraining notices are hereby immediately
lifted, but only insofar as such restraining notices related to the assets of GMT. All restraining
notices served by Universitas to third-party garnishees remain in full force and effect as to
all Judgment Debtors, except GMT.

         THEREFORE, full and complete satisfaction of said GMT Judgment is hereby
acknowledged, and the Clerk of the Court is hereby authorized and directed to make an entry of
the full and complete satisfaction on the docket of ONLY said GMT Judgment.

Dated: June 19, 2018
       New York, New York


                                                     By: ~-1-~-=,,_=-~~~~~~~~~
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                                                         345 Park A venue
                                                         New York, New York 10154
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STATE OF NEW YORK                  )
                                   ) ss.:
COUNTY OF NEW YORK                 )

       On the 19th day of June, 2018, before me personally came Paula K. Colbath, to me
known and known to be a member of the law firm of Loeb & Loeb LLP, attorneys for
Universitas Education, LLC in the above entitled action, and to be the same person described in
and who executed the within satisfaction of judgment and acknowledged to me that she executed
the same.




                                           ANTOINETTE PEPPER
                                      Notary Public, Slate of Now Yori(
                                              No. 01PE4973633
                                        Qualified In Nassau county
                                     Certificate flied In New York County
                                    Commission Expires January 7, 2019

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